255 F.2d 102
    NATIONAL CLEARANCE BUREAU, a Corporation, and Melvin Montagand Edwin G. Axel, Individually and as Officers of SaidCorporation, and Edwin G. Axel, Individually and Trading andDoing Business as Credit Information Bureau, Petitioners,v.FEDERAL TRADE COMMISSION, Respondent.
    No. 12484.
    United States Court of Appeals Third Circuit.
    Argued April 22, 1958.Decided May 14, 1958.
    
      Kenneth Fast, Newark, N.J.  (Fast &amp; Fast, Newark, N.J., Herman L. Fast, Newark, N.J., on the brief), for petitioners.
      E. K. Elkins, Washington, D.C.  (Earl W. Kintner, Gen. Counsel, James E. Corkey, Asst. Gen. Counsel, Washington, D.C., on the brief), for Federal Trade Commission.
      Before MARIS, KALODNER and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      We have carefully considered the objections raised by the petitioners to the order of the Federal Trade Commission requiring them to cease and desist from certain practices in interstate commerce which the Commission found to be unfair and deceptive in violation of the Federal Trade Commission Act, 15 U.S.C.A. 41 et seq. The proscribed practices involved the sale and use of certain 'skip tracing' forms, cards, and envelopes, designed to obtain information about delinquent debtors, which the Commission found represented falsely that the requests for information were from an agency of the United States Government which would forward a check for a sum of money upon being furnished the information.
    
    
      2
      Our examination of the record satisfies us that the Commission's findings are supported by substantial evidence.  They in turn fully support its order to cease and desist.  We have considered the petitioners' other contentions that the proceeding is not in the public interest, that the complaint should be dismissed because the Commission had not established standards delineating deceptive practices in this field before the proceeding was begun, and that the corporate petitioner was not shown to be engaged in interstate commerce or in the 'skip tracing' business.  Each of them is so wholly lacking in merit as to require no detailed discussion.
    
    
      3
      The order of the Federal Trade Commission will be affirmed and a decree enforcing it will be entered.
    
    